
Turley J.
delivered the opinion of the court.
This is a bill of indictment against James Shaw and James Rutledge, for treating the electors of the fifth civil district of Greene county with spirituous liquors, for the purpose of obtaining their votes for James Shaw, for the office of constable.
There is a demurrer to the indictment, and in support thereof it is argued that the act of 1823, ch. 25, which creates the offence, makes it presentable upon the knowledge of two or more of the grand jury, and not indictable. This is the true construction of the statute, and the argument would be unanswerable, but for the fact, that the act of 1842, ch. 141, sec. 4, provides that all violations of the penal laws may be prosecuted by indictment or presentment of a grand jury, and in case of presentment upon the information of any one of the *34grand jury.- This statute repeals that provision of the act of 1823, which required the offence to be presented by two of the grand jurors upon their own knowledge, and makes it indictable.
The circuit judge, therefore, erred in sustaining the demurrer, and his judgment will be reversed. And this court proceeding to render such judgment as the circuit court should have rendered, fines the defendants one hundred dollars, according to the provisions of the act of 1823, ch. 25.
